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Case No.: 01-1930-CIV-MARTINEZ/Dubé So
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MIAMI-DADE COUNTY, FLORIDA, a ) 4
political subdivision of the State of Florida, )
)
Plaintiff, )
. )
Vv. )
UNITED STATES OF AMERICA,
Defendant. )

CORRECTED MOTION AND MEMORANDUM OF POINTS AND
AUTHORITIES BY PLAINTIFF MIAMI-DADE COUNTY, FLORIDA TO
STRIKE AND PRECLUDE THE EXPERT REPORT AND PROFFERED
TESTIMONY OF WILEY R. WRIGHT, IT

Plaintiif. Miami-Dade County. Florida (the “County”), by and through its undersigned
counsel, and pursuant to Federal Rule of Civil Procedure 26 and Rule 26.1.11.2 of the Local
Rules. respectfully submits its Motion and Memorandum of Points and Authorities to strike and
to preclude the Expert Report of Wiley R. Wright, HI. signed May 20, 2003, and to preclude the
U.S. from proffering his testimony at trial.

The U.S. designated Mr. Wright as an expert “to determine whether the past and future
costs clatins by the Plaintiff are sufficiently documented and accurately accounted for under
generally accepted accuunting principles and practices and the accounting standards of and
pursuant to the National Contingency Plan.” Exhibit { hereto (Expert Report of Wiley R.
Wright, HI CPA, May 20. 2003).

The National Contingency Plan “is a body of regulations governing the clean up of
hazardous waste sites under CERCLA.” Redwing Carriers, Ine. v. Saralund Apurtments, 94 ZG

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F.3d 1489, 1496 n.8 (11"" Cir. 1996). The National Contingency Plan contains the following
general admonition regarding accurate accounting: “In general, documentation shall be
sufficient to provide the source and circumstances of the release . . . the response action taken,
{and| accurate accounting of federal state or private party costs incurred for response actions.”
40 C.F:R. § 300.160(a)(1) (1990). To meet this standard. a government (such as the County)
must demonstrate only that it incurred costs in responding to a release or threat of release. /d.:
United States v. Chapman, 146 F.3d 1166, 1169 (9" Cir. 1998). Neither Congress nor the U.S.
Environmental Protection Agency require a CERCLA plaintiff -- much less a political
subdivision of the State of Florida -- to meet any special or extra-statutory accounting standard to
make that simple proof. F.g. California v. Neville Chem. Corp., 213 F. Supp. 2d 1134, 1138
(C.D. Cal. 2002).

In this action, the County has met this simple threshold and will prove its response costs
at trial. On June 11, 2003, the County produced a complete report on the past response costs the
County seeks to allocate to the U.S. in this action. That report was the subject of a designee
deposition of the County on July 1 and 2, 2003. Mr. Wright attended that deposition. From July
2, 2003, to date, Mr. Wright has not modified his initial Report to reflect his views, if any. on the
County's report of June 11 or the deposition testimony on July 1 and 2, 2003. However, because
Mr. Wright reserves the right to modify his report through trial, the County moves to strike his
report and to preclude any testimony he may be moved to give at trial.

The bases for the preclusion are two-fold:

A. The expert methodology Mr. Wright proffered in May 2003 is outside Rule 704 of

the Federal Rules of Evidence. “A witness may not testify to the legal implications of conduct;~

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the Court is the only source of law. Montgomery v Aetna Casualty & Surety Co., 898 F.2d
1537, 1541 (11" Cir. 1990). This is not an instance where the law imposes exacting or arcane
standards. The Court must be merely satisfied that the response costs at issue were incurred in a
manner that was substantially, not strictly, consistent with any applicable requirements of the
NCP in place at the time of incurrence. The method of review that the NCP calls for is the legal
method -- the same review method the Court makes generally.

B. The NCP does not impose any standard of “accurate accounting.” much less the
principles Mr. Wright offered here. On April 17, 2003 -- less than a month before Mr. Wright
signed his Report in this action -- the U.S. submitted a memorandum of law to the United States
District Court for the District of Montana in U.S. v. W.R. Grace & CO.-Conn., et al., Civ. No.
Q1-72-M-DWM. Exhibit 2 hereto. The County incorporates herein that memorandum, mutatis
mutandis, That memorandum and Mr. Wright's Report and methodology cannot coexist.

Conclusion

Mr. Wright’s Report of May 20, 2003. should be stricken and Mr. Wright be precluded

from testifying in the United States District Court for the District of Montana, on the meaning of

“accurate accounting” and the burden of proof associated with this NCP provision.

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Respectfully Submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true copy hereof was furnished by first class U.S. Mail to
counsel listed below this iat day of September, 2003.

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IN THE UNITED STATES DISTRICT COURT
20 FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION
2)
22 UNITED STATES OF AMERICA, Civ. No. 01-72-M-DWM
23 Plaintiff,
VS. UNITED STATES’ BRIEF ON THE
24 MEANING OF “ACCURATE
W.R. GRACE & CO. - CONN. and j ACCOUNTING”
25 KOOTENAI DEVELOPMENT )
96 CORPORATION, )
Defendants.
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In this action, the United States seeks to recover the costs it incurred responding to the
release or threatened release of asbestos at the Libby Asbestos Site pursuant to Section 107(a)
the Comprehensive Environmental Response, Compensation and Liability Act (“CERCLA”), 42
U.S.C. § YouT(a). These costs aig revoveruble ciiler as respouse Cosis under Secuon
107(a)(4)(A) of CERCLA or as costs of health assessments or health effects studies under
Section 107(a)(4)(D). While Defendants have conceded the adequacy of documentation for a
significant portion of the Government’s costs,’ they contend that the documentation supporting
the Agency for Toxic Substances and Disease Registry’s (“ATSDR”) health-related response
costs related to the Site is insufficient to constitute an “accurate accounting” within the meaning
of the National Contingency Plan (“NCP”). The Court has directed the parties to file briefs that

discuss the meaning of the term “accurate accounting” and the burden of proof associated with

this NCP provision.

ARGUMENT

I. DEFENDANTS BEAR THE BURDEN OF PROVING ANY ALLEGED
INCONSISTENCY WITH THE NCP.

To establish a prima facie case to recover response costs under Section 107(a) of
CERCLA, the United States must prove: (1) the site is a facility; (2) a release or threatened
release of a hazardous substance occurred; (3) the government incurred costs in responding to
the release or threatened release; and (4) the defendant is a liable party. 42 U.S.C. § 9607(a);
United States v. Chapman, 146 F.3d 1166, 1169 (9" Cir. 1998). Once the United States

establishes its prima facie case, the burden shifts to the defendant to prove the response action

“Two of Defendants’ contentions at trial do not appear to based on the adequacy of cost
documentation. First, Defendants contend that $266,538 paid to Aeolus, Inc. (via an interagency
agreement between EPA the Volpe National Transportation Systems Center) should have been
billed to a non-site specific account rather than the Libby Asbestos Site project. Second,
Defendants contend that a majority of EPA’s indirect cost claim of $11,359,363.67 is not
“accurately accounted for” due to a disagreement with EPA’s revised methodology for
calculating indirect costs. As Defendants’ arguments regarding Aeolus, Inc. costs and EPA
indirect costs do not appear to implicate the actual documentation of these costs, they are not
addressed in this brief. These arguments are addressed in the United States’ Proposed Findings
of Fact and Conclusions of Law.

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was inconsistent with the NCP. Chapman, 146 F.3d at 1169; Washington.State Dep’t of Transp.
v. Washington Natural Gas Co., 59 F.3d 793, 800 (9" Cir. 1995). To the extent a CERCLA
defendant claims the United States cannot recover its costs because of an inconsistency with the
NCP, the deiendant — not the United States ~ has the buiden of proving the inconsistency and the
amount of additional costs that were incurred as a result of the inconsistency. See United States
v. Findett Corp., 220 F.3d 842, 849 (8" Cir. 2000); United States v. Burlington N. R.R. Co., 200
F.3d 679, 695 (10" Cir. 1999) (defendant must prove inconsistency with NCP led to
“demonstrable excess costs”); Chapman, 146 F.3d at 1170-71; California v. Neville Chem.
Corp., 213 F. Supp. 2d 1134, 1138-41 (C.D. Cal. 2002). As a result, a CERCLA defendant
cannot challenge the adequacy of the government’s cost documentation by raising “vague
challenges to the validity of those costs based on the government’s evidence” but instead must
offer “evidence to counter or otherwise challenge the extensive government documentation of its
direct costs.” United States v. R.W. Meyer, Inc., 889 F.2d 1497, 1508 (6 Cir. 1989).

In this case, the Court has already determined that the United States has established a
prima facie case against Defendants and that EPA’s substantive cleanup actions in Libby were
not inconsistent with the NCP. See December 19, 2002 Order at 14-15. However, the
sufficiency of the government’s documentation of ATSDR’s costs remains to be decided.

i. COURTS HAVE HELD A BROAD RANGE OF COST DOCUMENTS
SUFFICIENT TO ESTABLISH A PRIMA FACIE CASE.

The NCP contains a general admonition to complete and maintain documentation to
support cost recovery actions:

During all phases of response, the lead agency shall complete and maintain
documentation to support all actions taken under the NCP and to form the basis
for cost recovery. In general, documentation shall be sufficient to provide the
source and circumstances of the release, the identity of responsible parties, the
response action taken, accurate accounting of federal state or private party costs
incurred for response actions, and impacts and potential impacts to the public
health and welfare and the environment.

40 C.F.R. § 300.160(a)(1) (1990) (emphasis added).” Defendants have not and cannot prove an

*This provision of the 1990 version of the NCP is almost identical to a provision of the 1985
NCP codified at 40 C.F.R. § 300.69 (1985). Chapman, 146 F.3d at 1171 n.4. Although the 1990
provision of the NCP is applicable to this case, some of the case law cited in this brief applied

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mconsistency with this general admonition, as the provision does not establish prescriptive
standards for the content of cost documents. In fact, courts have held that by its nature the NCP
governs the selection of response actions, not the incurrence of costs per se, so that a cost can be
“jaconsistent with the NCP” only if the response action for which the cost was incurred was
inconsistent with the NCP. See, e.g., United States v. Hardage, 982 F.2d 1436, 1443 (10" Cir.
1992); United States v. Kramer, 913 F. Supp. 848, 862 (D.N.J. 1995). This interpretation makes
clear that 40 C.F.R. § 300.160 imposes no additional documentation requirements beyond what
is sufficient to persuade the court that the costs have been proven by a preponderance of the
evidence. Indeed, those courts that have specifically examined this provision of the NCP have
recognized that it “does not contain any specific standards concerning the documentation of
costs.” United States v. Chrysler Corp., 168 F. Supp. 2d 754, 769 (N.D. Ohio 2001); United
States y. Findett Corp., 75 F. Supp. 2d 982, 991 (E.D. Mo. 1999), aff'd, 220 F.3d 842 (8" Cir.
2000). The NCP only requires that “in general” documentation be sufficient to provide an
accurate accounting of costs incurred. Notably, the NCP does not define “accurate accounting”
or otherwise elaborate on what is meant by “sufficient.” Neville, 213 F. Supp. 2d at 1138;
Chrysler, 168 F. Supp. 2d at 769; Findett, 75 F. Supp. 2d at 991.

In the absence of regulatory? guidance on the meaning of “accurate accounting,” courts —
including the Ninth Circuit — have assessed the adequacy of cost documentation supporting a
CERCLA cost recovery claim under general civil evidentiary standards, rather than imposing
some additional NCP-based burden. In Chapman, for example, the Ninth Circuit affirmed a
grant of summary judgment for the United States in a CERCLA case. Among other things, the
Court — after quoting a portion of 40 C.F.R. § 300.160(a)(1) — found that no genuine issue of

material fact existed as to whether EPA had “adequately documented” the costs it had incurred.

the 1985 version of the NCP.

+CERCLA itself does not establish any cost documentation standards outside those present in the
NCP. Specifically, CERCLA provides that responsible parties are liable for “all costs of
removal or remedial action incurred by the United States Government . . . not inconsistent with
the national contingency plan” and “the costs of any health assessment or health effects study
carried out under [42 U.S.C. 9604()].” 42 U.S.C. § 9607(a)(4). Oo

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Chapman, 146 F.3d at 1171. The Court specifically referenced the “detailed cost summaries”
the government had submitted, the “extensive documentation of costs in the form of time sheets
and payroll documents” and “declarations from EPA staff, attorneys, accountants, and
supervisors attesting to the work they performed and the me spent on the Chapman site.” Jd.

This same approach has been applied in other Circuits. In Findett, the Eighth Circuit
upheld a grant of summary judgment on CERCLA response costs, finding “detailed cost
summaries, supporting data, and other competent evidence” were sufficient to support the
government’s cost claim. Findett, 220 F.3d at 849.4 Similarly, the Tenth Circuit has upheld a
grant of summary judgment on CERCLA response costs where the costs were documented by
affidavits of government employees responsible for maintaining cost data supported by
“summaries of cost data.” Hardage, 982 F.2d at 1442-43. See also United States v. Chromalloy
Am. Corp., 158 F.3d 345, 352 (5™ Cir. 1998) (concluding that “detailed cost summaries”
provided an adequate basis to find EPA’s oversight costs reasonable and necessary).

Numerous district courts have taken the same approach to assessing the adequacy of
CERCLA cost documentation. See, e.g., Neville, 213 F. Supp. 2d at 1138-41 (time sheets
sufficient to document payroll costs; travel expense reports and related documentation sufficient
to document travel costs; contractor invoices sufficient to document contract costs); Chrysler,

168 F. Supp. 2d at 769, 774 (contractor vouchers/invoices, invoice approval forms, and Treasury

‘The Eighth Circuit did not elaborate on what constitutes “detailed cost summaries, supporting
data, and other competent evidence.” However, the opinion below has an extensive discussion
of the evidence upon which it based its summary judgment ruling. The district court relied upon
three types of cost summaries — payroll cost reports (which “include the names of employees
who did Site-related work, the year and the pay period in which they did that work, the hours
that they worked, and the corresponding payroll amounts”); travel cost summaries (listing the
“employee who traveled, the travel voucher number, the cost of the travel, and the Treasury
schedule confirming payment of that cost”); and contract summaries (“listing the contractor,
contract number, and total costs” and including the “voucher and Treasury schedule numbers
supporting those costs and confirming payment thereof”). Findett, 75 F. Supp. 2d at 991. In
addition, the district court relied upon affidavits from government personnel who monitored the
performance of cleanup contractors describing contract oversight. Jd. The district court noted
that the United States had produced additional cost documentation to defendants (including
certain site specific invoices, invoice approval forms, Treasury schedules, and monthly progress
reports) but did not find these documents necessary to prove response costs. See id. at 992.

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schedules adequately document contractor costs); United States v. Bell Petroleum Servs., Inc.,
734 F. Supp. 771, 781 (W.D. Tex. 1990), rev’d in part, vacated in part on other grounds, 3 F.3d
889 (5th Cir. 1993); United States v. Northernaire Plating Co., 685 F. Supp. 1410, 1415 (W.D.
Mich. 1988), ajjd sub nom., United States v. R.W. Meyer, Inc., 889 F.2d 1497 (6" Cir. 1989).
Notably, none of the cases reviewed above required the presence of any particular
document or type of document in their analysis of response cost documentation. They merely
required that the documentation be “adequate” or “sufficient” to support the cost claim. See,
e.g., Chrysler, 168 F. Supp. 2d at 769 (“The Court has reviewed these documents [contractor
invoices, invoice acceptance forms, and EPA Treasury schedules] and concludes that the
documentation provided is adequate to support the contractor costs . . . that the EPA incurred.”).
Some courts have found documents that itemize specific expenditures or activities (e.g., time
sheets, invoices, Treasury schedules) sufficient to document CERCLA response costs. See, e.g.,
Neville, 213 F. Supp. 2d at 1138-41; Chrysler, 168 F. Supp. 2d at 769, 774. Other courts have
found acceptable detailed cost reports that summarize this type of documentation. See, e.g.,
Findett, 75 F. Supp. 2d at 991. Still others have relied upon both cost summaries and the
underlying cost documents. See, e.g., Chapman, 146 F.3d at 1171. Moreover, many courts have
assessed documents in the context of sworn statements government officials provided on such
topics as work performed at the site, the time it took to accomplish cleanup tasks, and contractor
oversight. See, e.g., Chapman, 146 F.3d at 1171; Hardage, 982 F.2d at 1442-43; Findett, 75 F.
Supp. 2d at 991. In sum, the plaintiff in a CERCLA cost recovery action (typically, but not
always a state or federal governmental entity) has a range of options for proving up the amount
of costs it has incurred. The nature of the documentation presented to support the cost claim
inevitably will vary depending on the amount of response costs at issue, the type of
documentation the plaintiff's accounting system maintains, and the extent and complexity of that

documentation.” Regardless of the option taken, the burden is on the CERCLA defendant to

While the courts have determined that documents such as cost summaries, time sheets, invoice
approval forms, and Treasury schedules are sufficient to support a cost claim, they do not state
that these particular documents are necessary. In any given case, other evidence might suffice.

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demonstrate that such documentation is inadequate once the prima facie case for the costs has

been established.

Similarly, there is no specific standard regarding the amount of detail that must be
included im cost documentation. Courts have rejected arguments that the lack of descriptive
information on a time sheet or travel voucher regarding the underlying task the employee
performed invalidates the documentation. See Neville, 213 F. Supp. 2d at 1138-40; Bell
Petroleum, 734 F. Supp. at 781 (‘failure to provide descriptive documentation does not make the
Government’s accounting inaccurate[;] even if it did, disallowance of costs for that reason is too
harsh a sanction for the omission, if any, involved”).

lil. THE UNITED STATES’ EVIDENCE SATISFIES THE PREPONDERANCE OF
THE EVIDENCE STANDARD AND DEFENDANTS HAVE SHOWN NO
INCONSISTENCY WITH NCP COST DOCUMENTATION PROVISION.

At tral, the United States presented ATSDR’s cost recovery package, which consists of
thousands of pages of documentation of the costs ATSDR incurred in conducting health-related
activities in Libby. This documentation included cost summaries, time sheets, contractor
invoices, travel vouchers and voluminous other information. See generally Exhibit 1145. In
addition, the United States elicited testimony from two senior ATSDR employees — the Deputy
Director of the Division of Health Studies, who acted as project officer and field coordinator at
the Libby Site and the Cost Recovery Team Leader, who was responsible for preparing
ATSDR’s cost recovery package — to explain ATSDR’s Libby activities, the agency’s
institutional procedures for approving and paying costs, and the preparation of the cost recovery
package for the Libby Asbestos Site. This is exactly the type of evidence that courts have found
adequate to document response costs. See, e.g., Chapman, 146 F.3d at 1171; Findett, 220 F.3d at
849; Hardage, 982 F.2d at 1442-43. Indeed, as the Findett district court noted in concluding that

As different government agencies — and for that matter different private entities — utilize

different accounting systems and procedures, the cost accounting documentation they create and
retain may take on different forms and capture different information. Moreover, the type and
form of information retained may change over time as, for example, previously paper
transactions are conducted electronically. Such differences should not impair the ability to
recover costs, provided the documentation is adequate to support the costs by a preponderance of
the evidence. Oo

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the government’s documentation was sufficient, “the type of detailed cost summaries submitted
by the government here have routinely been found adequate to support its cost claims 1n other
cases.” Findett, 75 F. Supp. 2d at 992. As discussed in more detail in the United States’
Proposed Findings of Fact and Conclusions of Law, the documentation the United States has
provided to support ATSDR’s costs in this case is the same type of documentation that courts
have routinely found sufficient to support other CERCLA cost claims.

IV. DEFENDANTS’ INTERPRETATION OF CERCLA’S DOCUMENTATION

PROVISION HAS NOT BEEN ACCEPTED BY THE COURTS.

Defendants contend, through their expert cost accountant Dale Jensen, that the NCP’s
cost documentation provision implicitly incorporates “commonly accepted accounting standards
and procedures applicable to documenting costs.” Tr. at 442:21-444:3. These “commonly
accepted accounting standards” — in Mr. Jensen’s view — require the government to compile and
maintain a long list of documents for its expenditures, including: 1) invoice summaries; 2)
site-specific invoices which indicate costs by cost type or by activity; 3) invoice approval forms,
or other documentation of approval, signed by the Site’s project manager or other responsible
site-specific employee; 4) proof of payment of invoices; contracts, work assignments, or IAGs,
authorizing costs to be incurred and describing the work to be performed; 5) monthly progress
reports containing descriptions of tasks performed, types and amounts of costs incurred, and
other summary information to show that costs were incurred in connection with the Site; 6) audit
reports of costs incurred under contracts and JAGs; and, 7) all of the above items for significant
subcontractor costs.” Tr. at 520:21-523:4.

Defendants’ argument fails for two reasons. First, while “commonly accepted accounting
standards” may exist for some purposes, they do not establish documentation requirements of
general applicability. Mr. Jensen can point to no authority in accounting literature articulating

the extensive documentation requirements that he advocates. See Tr. at 523:8-525:16. His

‘Defendants summarize this list — in an apparent effort to make it appear more reasonable ~ into
four “categories”: documents showing work is authorized, incurred, approved, and paid. See Tr.
at 443:22-447:20.

” Case 1:01-cv-01930-JEM Document 126 Entered on FLSD Docket 09/15/2003 Page 14 of 37

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laundry list of required document categories is, quite simply, a list he invented for his expert
testimony in CERCLA cost-recovery litigation. Second, even assuming such “commonly
accepted accounting standards” existed, there is no suggestion in either CERCLA or the NCP
ihat they apply to the documentation of CERCLA costs as a precondition to cost recovery.
Indeed, courts have consistently rejected arguments that so-called general accounting standards
are germane to the assessment of the adequacy of cost documentation under the NCP.”

For example, in Findert the Eighth Circuit reviewed de novo the district court’s mling
that the United States was entitled to summary judgment on its response costs in the amount of
$3.2 million dollars. In Findett, Mr. Jensen again contended that the government’s CERCLA
cost documentation was not sufficient to meet the NCP requirement. The Eighth Circuit
affirmed the lower court’s rejection of Mr. Jensen’s argument, stating:

The EPA submitted thoroughly detailed cost summaries, supporting data, and

other competent evidence to support its claim for recovery of response costs.

Findett’s expert Dale Jensen in his report suggested that additional documentation

the EPA had not submitted was necessary to substantiate the EPA’s response

costs. We disagree. Either the missing documentation noted in Jensen’s report

was in fact provided by the EPA to Findett, or the detail sought (for example,

progress reports from contractors, audit reports of contracts) was only

peripherally related to whether the EPA actually incurred response costs.... In

sum, Jensen’s opinions regarding insufficient documentation do not create any

genuine issue of material fact as to the costs the government seeks to recover

from Findett.

Findett, 220 F.3d at 849 (emphasis added). Similarly, in Hardage the Tenth Circuit rejected Mr.
Jensen’s® cost documentation argument, stating that “[t]he expert witness affidavits at issue
amount to no more than a denial that the government’s documentation establishes a prima facie

case that it is entitled to recover $5,441,201.25 in response costs . . . [and therefore] fail to

establish a genuine issue for trial.” Hardage, 982 F.2d at 1444.

INWWhile the cases cited below address EPA’s cost documentation system rather than ATSDR’s,
the types of documentation the agencies maintain are similar. Courts have applied the same
general documentation principles regardless of the agency seeking its CERCLA response costs.
See, e.g., Neville, 213 F. Supp. 2d at 1138-41 (State of California costs); Chrysler, 168 F. Supp.
2d at 773, 776 (Bureau of Reclamation and Department of Justice costs).

¥Mr. Jensen analyzed the governments’ cost documentation in Hardage, but one of his
colleagues provided the trial testimony. Tr. at 526:18-527:13.

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The District Court for the Eastern District of California also recently addressed Mr.
Jensen’s documentation arguments. The court, in reviewing $7,809,683 .46 in response costs the
United States had incurred at a CERCLA cleanup, was direct and harsh with regard to the value
of Mr. Jensen’s* interpretation of the NCP’s documentation requirements:

The Railroads made a wholesale attack on EPA’s cost and allocation methodology,

ignoring well-established legal precedent that has validated EPA CERCLA cost

documentation procedures and practices. The Railroads’ cost recovery expert witness
was neither credible nor persuasive. He attempted to apply general cost accounting
principles in a manner that was not helpful and resulted in unnecessary expenditure of
time..
United States v. Atchison, Topeka & Santa Fe Ry. Co., Consolidated Arvin Cases: No. CV-F-92-
5068 (OWW), No. CV-F-96-6226 (OWW), No. CV-F-96-6228 (OWW) (E.D. Cal. May 24,
2002) at 80. In Atchison, as in the case at hand, Mr. Jensen advocated the use of alleged general
theories of cost accounting when assessing the adequacy of CERCLA cost documentation. The
court soundly rejected all of these arguments and ruled that the United States was entitled to
summary judgment on its response costs. The court stated:

The Railroads’ accounting attack was premised on general theories of cost accounting,

not environmental accounting as described in case law. The attacks ignored well

established decisional precedent that validates EPA’s CERCLA cost accounting
procedures and protocols. The Railroads’ accountant also ignored or refused to
acknowledge the EPA’s SCORES and CERCLA Superfund site accounting and cost
documentation methods. The entirety of Railroads’ claims on EPA’s accounting
methodology are rejected.

Id. at 152-53 (emphasis added).

Finally, Mr. Jensen’s proposed documentation standard rejects any role for sworn
testimony from government officials regarding work performed at a site, the time it took to
accomplish this work, and contractor oversight, and related topics. See Tr. at 441:6-17. While
no court has expressly addressed this aspect of his opinion, it is clearly out of step with
CERCLA case law. As noted above, several courts — including the Ninth Circuit in Chapman —

have considered and relied upon swom statements by cleanup personnel in assessing the

adequacy of cost documentation. See, e.g., Chapman, 146 F.3d at 1171; Hardage, 982 F.2d at

*Mr. Jensen was Defendant Railroads’ cost expert in the Atchison case. See Tr. at 527:14-17.

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1442-43; Findett, 75 F. Supp. 2d at 991. This makes good sense. In certain circumstances,
contract approvals, work authorizations, progress reports may be provided in face-to-face
meetings or over the telephone. This is particularly likely when the supervising official has
direct, on-site knowledge of the work conducted. Accordingly, the trial testimony senior
ATSDR officials provided regarding the preparation of ATSDR’s cost recovery package and
ATSDR’s institutional procedures for approving and paying extramural expenses is an
acceptable component of the United States’ proof on the sufficiency of the ATSDR

documentation.

V. DEFENDANTS DO NOT CONTEND THAT THE UNITED STATES

CALCULATED ATSDR COSTS INCORRECTLY.

As discussed above, Defendants’ contention that the ATSDR costs are insufficiently
documented is untrue as a factual matter and relies upon an interpretation of the NCP that has
been rejected by every court that has considered it. Nevertheless, Defendants could still contend
that the United States’ calculation (as opposed to the documentation) of its costs is incorrect.
See, e.g., Chrysler, 168 F. Supp. 2d at 769 (reviewing the “accuracy” of CERCLA costs claimed
after determining documentation adequate to support such costs); Bell Petroleum, 734 F. Supp.
at 781 (rejecting defendant’s contention that CERCLA accounting documentation was
inadequate, but indicating that defendant could still put on evidence regarding the “flaws in the
figuring” of the amount of response costs owed). In this case, however, Defendants have not
presented evidence of alleged flaws in the calculation of ATSDR costs the United States seeks.

Dated: April 17, 2003 Respectfully submitted,

/s/ James D. Freeman
JAMES D. FREEMAN
HEIDI KUKIS
DAVID F. ASKMAN
MARK C. ELMER
Trial Attorneys
Environmental Enforcement Section
U.S. Department of Justice
999 Eighteenth Street, Suite 945NT
Denver, Colorado 80202
(303) 312-7376

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case No. 01-1930-Civ-Martinez/Dubé

MIAMI-DADE COUNTY, FLORIDA, a _
Political subdivision of the State of Florida,

Plaintiff.
VS.

UNITED STATES OF AMERICA,

Defendant.

EXPERT REPORT OF WILEY R. WRIGHT, II CPA

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WILEY R. WRIGHT, II CPA ~

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Dated

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Miami-Dade County, Florida,
v.
United States of America
Expert Report of Wiley R. Wright, UI CPA
Miami International Airport

Executive Summary

Rubino & McGeehin was retained by the United States Department of Justice to
assist in the evaluation of costs that were allegedly incurred in connection with
environmental investigation and cleanup activities by the Plaintiff in connection with the
Miami International Airport (MIA or the Site). My scope of services consisted of the: (1)
reviewing the Opinions of Costs prepared by Law Engineering; (2) reviewing other
documentation submitted in support of the claims stated in the May 2001 Complaint; and
(3) preparation of this initial expert witness report.

We have applied the procedures discussed herein to the accounting records and
other relevant documents provided by the United States and the Plaintiff in connection
with the investigation and cleanup activities at the Site. These procedures were performed
in order to determine whether the past and future cost claims by the Plaintiff are
sufficiently documented and accurately accounted for under generally accepted
accounting principles and practices and the accounting standards of and pursuant to the
National Contingency Plan (NCP).

I am the partner/shareholder of Rubino & McGeehin responsible for these
services and have personally rendered or reviewed the procedures performed by the
members of our staff with respect to them. My hourly rate for the services discussed

herein is $190.00 per hour. A copy of my resume can be found as Attachment A.
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Initial Statement of Conclusions/Opinions

Thove reviewed the limited supperting documentation’ provided to date in
connection with Plaintiffs claimed costs and have reached the following initial
conclusions:

Conclusion 1:
The documentation provided in support of the claims by the Plaintiff is

insufficient to determine whether the claims are accurately accounted for.

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Conclusion 2:
The documentation provided in support of the claims by the Plaintiff is

insufficient to determine whether the claims are consistent with the National Contingency

Plan.

| ' The referenced here to limited supporting documentation provided to date does not

include the documents that are warehoused at the document repository at the Miami Dade

Airport. Those documents consist of thousands of boxes, with millions of pages,
covering in excess of sixty years of airport activities. Based on my preliminary review of
the document repository records, the documents are not organized or segregated in any
logical fashion similar to what parties submit as “proof of costs” or otherwise provide in
support of cost claims. As an example, for EPA cost recovery claims, the government
submits summary and detail level cost summaries supported by the underlying cost
documentation organized by cost claim component.
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Conclusion 3

Plaintiff has not provided sufficient documentation to determine, under the accounting
standards of the NCP and generally accepted accounting principles and practices, the
amount and nature of MIA or Well Field past costs, fees or expenses incurred and paid
which Plaintiff seeks to recover in whole or in part from the United States in this
litigation. Plaintiff has not provided sufficient information to determine the adequacy
under the NCP of the documents which evidence (a) the incurrence and nature of any
such costs, fees or expenses; (b) the person to whom such costs, fees or expenses were
paid; (c) the work performed by the person to whom such costs, fees, or expenses were

paid; and (d) when such costs, fess, or expenses were incurred or paid.

Conclusion 4

Plaintiff has not provided sufficient information to determine the adequacy and
accuracy, under the accounting standards of the NCP and generally accepted accounting
principles and practices, of any cost estimates for any future MIA or Well Field Remedial
Investigation or Feasibility Study, future response or cleanup action selection, or any
future MIA or Well Field response or cleanup action as to which Plaintiff seeks to
recover the costs, fees or expenses in whole or in part from the United States in this
litigation. Plaintiff has not provided sufficient information to determine, under the NCP
and generally accepted accounting principles and practices, the basis and reasons for the
Plaintiff's estimates or projections of any such future costs, fees, or expenses; and the
methods, analyses, procedures, assumptions, and references used or made in making such

cost, fee or expense estimates or projections.

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Conclusion 5

Plaintiff has not provided sufficient information to determine, under the
accounting standards of the NCP and generally accepted accounting principles and
practices, the amount and nature of all monies, property or other consideration received
by or due to Plaintiff as reimbursement for, or initial funding of, the cost of any response
actions ~ or of any action to contain, remove, remedy or clean up petroleum substances or
wastes — at, on or under the MIA or Well Fields from (a) users or tenants of the Airport;
(b) insurance recoveries or settlements; (c) EPA; (d) the Civil Aeronautics
Administration, the Federal Aviation Administration, or any other related federal agency; |
(e) the State Inland Protection Trust, Abandoned Tank Restoration Program or other

Florida funds; or (f) settlements with alleged potentially responsible parties.

Conclusion 6
Plaintiff has not provided sufficient information to determine the adequacy and

accuracy, under the accounting standards of the NCP and generally accepted accounting

principles and practices, of its accounting documents, systems and controls to exclude
from its claims in this case attorney’s fees and litigation costs, MIA redevelopment and
capital expansion costs, response or cleanup costs incurred at other Dade County airports :
or other facilities, costs for actions covered by the CERCLA petroleum exclusion, or |

costs for MIA asbestos removal or abatement activities.
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'

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Conclusion 7

Plaintiff has not provided sufficient information to determine, under the
accounting standards of the NCP and generally accepted accounting principles and
practices, the extent, if any, to which actions or decisions of current or former employees
or contractors of Plaintiff and other persons who been convicted or have pleaded guilty to
allegations of bribery, fraud, or other criminal acts increased the costs of any response
actions for MIA or the Well Fields by or on behalf of Dade, or of any actions to contain,
remove, remedy or clean up petroleum substances or wastes at, on or under MIA or the
Well Fields by or on behalf of Dade, including but not limited to proposals, orders,

actions, contracts, payments or decisions of or by Ricardo “Richard” Mendez.

Basis for Conclusions/Opinions

The claims submitted by Miami Dade include the following types or categories of
costs: contractor service costs; personnel or payroll costs, including labor and benefits;
travel costs; and administrative or indirect costs.

In order to review, evaluate and otherwise make the determinations discussed
above for each category of costs, the following accounting records and documents would

be necessary: financial statements; general ledgers or equivalent reports summarizing
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costs by fiscal year or respective accounting period and by activity; subsidiary reports’;

payroll/salary/labor cost documents’; travel cost documents’; contract service costs’; and

administrative or indirect cost documents®

These documents are consistent with the types of documents that are necessary to
evaluate costs under generally accepted auditing standards and practices, government
auditing standards and practices, and consulting service standards and practices.
Furthermore, these types of documents are those types typically provided by contractors
in support of construction claims as well as those necessary to support a claim against the
Superfund for Mixed Funding claims.

The NCP requires that a party seeking cost recovery provide complete and

accurate documentation to support its environmental cost recovery claims:

* Subsidiary reports including but not limited to: payroll registers; labor distribution
reports; accounts payable reports; cash disbursement journals; cash receipts journals and
budgetary reports.

> Payroll/salary/labor documents including but not limited to; payroll registers; personnel
action forms/records, establishing authorized salaries or rates of pay and benefits;
employee timesheets, timecards and or time and attendance reports; and canceled checks.
* Travel cost documents including but not limited to: travel vouchers; travel
authorizations; supporting receipts, such as airline tickets and hotel receipts; and
cancelled checks.

5 Contract service cost documents include but are not limited to: contracts; amendments,
modifications and or change orders including all supporting documentation; work plans;
statements of work; service orders; PSA’s; payment applications and related detailed
support; invoices or vouchers; certified payroll reports; audit reports; subcontractor
agreements, change orders, invoices correspondence and other related documents; status
reports — both technical and financial; close-out reports at the contract and service order
level; daily reports; field notes, including project manager diaries and or logs; manifests;
correspondence; deliverables, including interim and final reports; and cancelled checks.
® Administrative or indirect cost documents include but are not limited to audit reports,
both internal and outside auditor reports; annual calculations and supporting
worksheets/workpapers; and internal memorandums concerning any administrative or
indirect cost claimed.
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“During all phases of response, the lead agency shall complete and maintain
documentation to support all actions taken under the NCP and to form the basis for cost
recovery. In general, documentation shall be sufficient to provide the source and
circumstances of the release, the identity of responsible parties, the response action taken,
accurate accounting of federal, state or private party costs incurred for response actions,
and impacts and potential impacts to the public health and welfare and the environment.”

The Plaintiff's Guide to Compliance with the National Contingency Plan at
Miami International Airport ®, EPA Directive 2550-D” and the EPA Superfund
Procedures Manual’®, identify the types of supporting documentation for transactions that
parties seek recovery for in cost recovery claims. These documents are guidance
documents and do not themselves establish requirements on parties seeking
reimbursement. However, they do identify the types and extent of documentation
necessary to allow the proper and complete evaluation of the accuracy and consistency of
the accounting for cleanup costs under the National Contingency Plan. These standards

and guidance documents should be considered in addition to generally accepted

accounting standards and practices in evaluating Plaintiff s cost claims in this litigation.

740 C.F.R. § 300.160(a)(1)(2000).

* Guide to Compliance with the National Contingency Plan at Miami International
Airport, Prepared by Compliance Manual Subcommittee, Environmental Cleanup and
Cost Recovery Program, Miami-Dade Aviation Department.

° Financial Management of the Superfund Program, Resources Management Directives
System 2550D, June 25, 1988.

10 Superfund Cost Recovery Procedures Manual, September 1994.
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As discussed in the aforementioned guidance documents, each cost element (such
as contract costs, payroll costs, travel costs and indirect costs) should be supported by the
types of documentation discussed therein. ] have considered these guidance documents in
developing the lists of necessary supporting documents discussed in this report.

For example in EPA’s Cost Recovery Procedures Manual contains the following
discussion with respect to travel costs:

“Documentation of travel costs includes the travel authorization, the travel
voucher, common carrier bills, and proof of payment. Travel authorizations show the
purpose of the travel and that the travel was approved; signatures therefore are necessary,
as well as dates of travel and the name or account number of the site.”

The Procedures Manual includes similar discussions concerning each of the other types

of costs incurred.

As another example, the Miami Dade Aviation Department’s Manual contains the
following with respect to documentation and cost recovery for contract costs:
“Contractors must, at a minimum, prepare, maintain and provide to MDAD the
following types of information and documentation in connection with each response
activity:
e response action reports as required by regulatory agencies;
¢ monthly status reports on response activities

e comprehensive field notes

" Superfund Cost Recovery Procedures Manual, U. S Environmental Protection Agency,
September 1994, Page 6-1.
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e daily employee timesheets which clearly document the tasks being

performed and the associated with such tasks;

e invoices with detailed work descriptions which clearly document the
activilles performed, the locations where the activities were performed,
and the costs associated therewith;

¢ contracts, subcontracts, work orders and approvals for extra work;

e checks issued and receipts obtained in connection with the purchase or

lease of equipment, materials, supplies, etc.; and

e correspondence files.

Copies of all such documentation (with the exception of correspondence files) must be
provided to MDAD, shall become part of the public records, and may be used as
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evidence in the cost recovery actions.

My experience in over one hundred Superfund cost recovery cases, including cost

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recovery claims by the Government and those submitted by PRP’s for reimbursement

against the Superfund, has been that transactions which are not sufficiently supported by

contemporaneous source documents (e.g. timesheets, travel vouchers, and contract

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invoices) are not accurately accounted for and therefore, should not be reimbursed.

"? Guide to Compliance with the National Contingency Plan at Miami International
Airport, Prepared by Compliance Manual Subcommittee, Environmental Cleanup and
Cost Recovery Program, Miami-Dade Aviation Department.

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Conclusion

This report and my opinions are based upon the documents and information
reviewed to date. My review of the large volumes of discovery materials is continuing.

This report and my opinions are subject to revision and supplementation based on
additional documents and information not yet reviewed or not yet provided, and the
testimony to be provided, through the time of trial.

I reserve the right to submit a supplemental report after I have had a reasonable
opportunity to analyze the supporting cost documentation and future cost information to

be organized and provided by Plaintiff.

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Attachment A
‘Page 1 of 7

WILEY R. WRIGHT, TI

Personal Resume

Mr. Wright is a CPA and shareholder/partner in the certified public accounting firm of
Rubino & McGeehin, Chartered. He provides services to a wide variety of clients, in addition to
litigation support, expert testimony and related consulting activities.

As part of providing litigation support, expert testimony and consulting services, Mr.
Wright is extensively involved with construction and government contracting disputes. Mr.
Wright provides these services to law firms, construction and government contractors, as well as
public and private owners. This experience involves a wide variety of projects, including but not
limited to, highways, bridges and tunnels, dams, power plants/facilities, airports, prisons,
hospitals manufacturing facilities, numerous other commercial and industrial buildings, satellite
design and production programs, aircraft and ship programs, and defense weapons programs.

Representative Construction Projects include, but are not limited to, the following:

Project Contractor
Condominium Building, Virginia Beach, VA Tumer Construction Company
James River (VA) Bridge , S.J. Groves / Kiewit

Military Housing Units in Cuba

Various Highway Projects

Pittsburgh Intemational Airport

Virginia State Prison

Los Angeles County Sludge

Dehydration/Energy/Recovery System

Condominium Project

Pennsylvania Highway Projects

Natural Gas Pipeline

California Bridge Retrofit

New Brunswick Power Plant

Los Angeles Emergency Operations Center
Robert Byrd Dam
Veterans Administration Hospital
Office Building Complex
Alameda Corridor Project

Military Housing Units in Alaska

Fiber Optics Contract

Veterans Administration Hospital

Zublin / Delaware, Inc.
The Driggs Corporation
ANJO Construction
W.M. Jordan, Inc.
Brinderson Corporation

Gilbane Building, Inc.

J.M. Morrissey, Inc.

Conoco, Inc.

J. MeeksConstruction

Noell, Inc.

Dillingham, Inc.

Noell, Inc.

Clarke Construction
Turner Construction Company
Burlington Northern Railroad
Kieiwt Construction Co.
Bechtel and LMAC Inc.
Hoffman Construction Co.
- Case'1:01-cv-01930-JEM Document 126 Entered on FLSD Docket 09/15/2003 Page 29 of 37

Attachment A
Page 2 of 7

With respect to construction and government contract services, Mr. Wright provides the
following:

* claim preparation, review and analysis (certified claims, requests for equitable
adjustments and termination claims for conveyance and default);

* change order costing and documentation reviews;

« interim and final project cost audits;

* contract administration consulting;

* accounting system design and reviews;

* Cost Accounting Standards and Federal Acquisition Regulations consulting;

* cost allowability and allocability determinations;

«defective pricing reviews;

* fraud investigations; and

* False Claims (Qui Tam) reviews and analysis.

In addition to construction and government contract related services Mr. Wright provides
expert testimony in environmental cost recovery and natural resource damage actions being
prosecuted by the U.S. Department of Justice. As part of these efforts, he provides consultations
to various government agencies (e.g., the U.S. Department of Justice, the U.S. Environmental
Protection Agency, U.S. Department of Interior, the U.S. Department of Commerce and various
States) and private entities on a variety of cost accounting and financial matters. Mr. Wright has
provided these services in over one hundred environmental cases, most of which involve
construction and government contracting activities and related issues. As part of these
responsibilities Mr. Wright provides the following services:

" prepares or analyzes damage claims;

» identifies costs that are inconsistent with the NCP;

"reviews corporate records relating to fraudulent conveyances;

* assists in “piercing the corporate veil” analysis;

"assesses the adequacy of accounting systems and records of governmental units and
private parties;

«develops direct and indirect cost systems and methodologies;

« performs determinations of ability to pay;

« performs or analyzes allocations of costs to operable units, sub-sites or potentially
responsible parties;

* assists in negotiation of disputes; and

« and provides expert testimony on specific financial and cost accounting issues.

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Attachment A
Page 3 of 7

WILEY R. WRIGHT, I
Personal Resume

Mr. Wright has been qualified and has provided expert testimony in construction and
government contract litigation as weli as cost recovery actions under CERCLA and has testified
in Federal and State Courts as well as in Arbitration and Mediation and before the NASA Board
of Contract Appeals and the Armed Services Board of Contract Appeals.

Prior to joining the Firm, Mr. Wright was employed as an audit manager with a large
local public accounting firm. As an audit manager with his prior firm, he had responsibility for
the firm's audit and consulting services to government and construction contractors and a large
financial institution. These responsibilities included performing and supervising audits; financial
statement presentation; internal control reviews; and interaction with regulatory agency auditors.

Mr. Wright has co-authored an article published in the Maryland Society of Certified
Public Accountants’ CPA Statement entitled “Professional Standards Applicable to Litigation
Support.” Mr. Wright has also taught continuing professional education courses on construction
damages.

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Attachment A
Page 4 of 7

WILEY R. WRIGHT, UI
Personal Resume

EDUCATION

oO

BS Accounting, George Mason University

o

Specialized Training

PROFESSIONAL CERTIFICATION

° Certified Public Accountant

RELEVANT EXPERIENCE

° Partner, Public Accounting Practice & Management Consultant
° Expert Testimony and Litigation Support Services
° Audits of Construction and Government Contractors

° Consulting Services/Construction and Government Contractors

PROFESSIONAL AFFILIATIONS/MEMBERSHIPS

° American Institute of Certified Public Accountants
° National Contract Management Association
° Construction Financial Management Association

° Institute of Management Accountants
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Attachment A
Page 5 of 7
WILEY R. WRIGHT, II
Personal Resume
Listing of Expert Testimony
Italics indicates client.
Plaintiff Defendant Forum
United States of America Charles George Trucking Co., United States District
et al. Court for the District
of Massachusetts

AWM Enterprises, Inc. Noell, Inc. Fairfax County, VA,

United States of America

United States of America
United States of America
United States of America
Aerojet-General Corp.

United States of America

Noell, Inc.

Scott’s Liquid Gold

Broderick Investment Company
Tom H. Connolly, as Trustee;
and Burlington Northern
Railroad Company

Atlantic Richfield Company

Atlantic Richfield Company-

United States Air Force

Salvors, Inc., ef al

Los Angeles Department
of Water and Power

Circuit Court

United States District
Court, Colorado

United States District
Court for the District
of Colorado

Alternative Dispute
Resolution

United States District
Court for the Eastern
District of Texas

Armed Services
Board of Contract

Appeals

United States
District Court,
Florida

Superior Court of
California
United States of America

Montrose Chemical Co.

- Case 1:01-cv-01930-JEM Document 126 Entered on FLSD Docket 09/15/2003 Page 33 of 37
Attachment A
‘Page 6 of 7
WILEY R. WRIGHT, II
Personal Resume
Listing of Expert Testimony
Italics indicates client.
Plaintiff Defendant Forum
: W.R. Mollohan, Inc., etal | Fru-Con Construction United States
' Corporation, et al District Court,
West Virginia
|
" United States of America Findett Corporation United States
, District Court, .
Missouri
United States of America DICO, Inc. United States
District Court,
Missouri
r
: Golden Bay Fence Co. Ray Wilson Co. Superior Court
of California/
American
Arbitration
Association
ft
i
: Joe Amaral Mechanical Clarke Construction United States
District Court,
Northern District
of California
Dillingham Construction County of Los Angeles Superior Court of
California
United States of America ASARCO, Inc. United States
District Court,
Idaho

United States
District - California
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Plaintiff
United States of America

and The State of Colorado

United States of America

EJ. Dupont

United States of America

United States of America

Kiewit Construction

United States of America

Attachment A
Page 7 of 7
WILEY R. WRIGHT, DI
Personal Resume
Listing of Expert Testimony
Italics indicates client.
Defendant Forum
’ Robert M. Friedland, et al. United States
District Court,
District of Colorado
Chrysler Corporation, United States
Ford Motor Company, et al. District Court,
Northern District
Of Ohio
United States of America United States
District Court,
New Jersey
Tug ALLIE B, et al. United States
. District Court,
Southern District
Of Florida
Sprague Energy, et al. United States
District Court,
North Carolina
United States of America United States Court
Of Federal Claims
W.R. Grace, et al United States
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Montana
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